        19-11705-cgm         Doc 29      Filed 07/23/19 Entered 07/23/19 09:26:18                Deficiency
                                                Notice Pg 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK
                                            One Bowling Green
                                         New York, NY 10004−1408


IN RE: Cheryl Louise Williams−Murray                        CASE NO.: 19−11705−cgm
aka Cheryl Louise Williams−Murray
aka Cheryl L. Murray
Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 13
xxx−xx−8497

                                              DEFICIENCY NOTICE

PLEASE TAKE NOTICE that, pursuant to the automatic dismissal provisions set forth in 11 U.S.C. § 521(i),
if: (1) you are an individual debtor or joint debtors, (2) you filed a voluntary case under chapter 7 or 13,
(3) you fail to cure those deficiencies identified by an asterisk [*] below, and (4) the Court does not grant an
extension of time or order otherwise, your case may be dismissed without further notice on or after the
forty−sixth (46th) day following the commencement of the case.

PLEASE TAKE FURTHER NOTICE that nothing herein modifies the deadline by which any document must
be filed under the applicable provisions of the Bankruptcy Code or Federal Rules of Bankruptcy Procedure, or
implies that the information contained in any filed document is adequate or sufficient. Additionally, the failure
to file any required document by such deadline may be cause for the dismissal or conversion of your case prior
to the forty−sixth (46th) day following the commencement of the case.

The current deficiencies in your case are listed below. If an asterisk [*] appears before a document listed below, the
document is a section 521(a)(1) requirement that, if not filed, would subject your case to the automatic dismissal
provisions (referred to in the first paragraph above).

Chapter 13 Model Plan due 07/31/2019


All required documents must be filed timely. The document(s) appearing above must be filed with the Court by the
applicable deadline.

NOTE: No later than the time of the meeting of creditors conducted by the trustee pursuant to 11 U.S.C. § 341(a),
you must provide the trustee with copies of all payment advices or other evidence of payment received from any
employer within 60 days prior to the date of filing of the petition. See General Order M−382.


Dated: July 23, 2019                                                 Vito Genna
                                                                     Clerk of Court
